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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



MELISSA DRAKE,
MADELYN DEJUSTO, and
DOUGLAS A. SPRINGSTEAD,

                Plaintiffs,
                                                              CASE NO. 1:10-CV-185
v.
                                                              HON. ROBERT J. JONKER
BRIANNA SCOTT,

            Defendant.
__________________________________/

                                              ORDER

         The motion for extension of discovery deadline (docket # 20) is DENIED. One of three

Plaintiffs chose to file bankruptcy after filing this action. The Chapter 7 Trustee may choose to

auction the claim, as the motion indicates, but even assuming this claim can be sold, it will

necessarily be subject to Plaintiff's attorney's lien. Moreover, all interested parties, including the

Trustee, have incentive to dispose of the claim promptly as long as deadlines remain in effect in this

case. The bankruptcy filing by one Plaintiff introduces some new procedural dynamics in the case,

but at this point nothing in the record persuades the Court that additional time is necessary. All

interested parties appear to have appropriate ways to protect their interests and to act reasonably

based on their respective view of the actual value of the claims in suit.




Dated:        October 4, 2010                  /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               UNITED STATES DISTRICT JUDGE
